     Case 2:21-cv-09948-PA-PD Document 16 Filed 04/07/22 Page 1 of 4 Page ID #:89



 1   Anoush Hakimi (SBN 228858)
 2   anoush@handslawgroup.com
     Peter Shahriari (SBN 237074)
 3
     peter@handslawgroup.com
 4   Laura Steven (SBN 332168)
     laura@handslawgroup.com
 5
     THE LAW OFFICE OF HAKIMI & SHAHRIARI
 6   1800 Vine Street
 7
     Los Angeles, CA 90028
     Telephone: (888) 635-2250
 8   Facsimile: (213) 402-2170
 9
     Attorneys for Plaintiff
10
     GEORGE JONES
11

12
                          UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14

15

16   GEORGE JONES, an individual,                   Case No.: 2:21-cv-09948-PA-PD
17                Plaintiff,                        Hon. Percy Anderson
18
     vs.
19
                                                    REQUEST TO ENTER DEFAULT
20   SINALOENCE FOOD PRODUCTS &                     AGAINST DEFENDANT
     SERVICES, INC., a California                   SINALOENCE FOOD PRODUCTS
21
     corporation; and DOES 1-10,                    & SERVICES, INC. PURSUANT
22
                  Defendants.                       TO RULE 55(A) OF THE
23                                                  FEDERAL RULES OF CIVIL
24
                                                    PROCEDURE

25

26                                                  Date Filed: December 27, 2021
                                                    Trial Date: Not on Calendar
27

28

     ____________________________________________________________________________________________
                                                                    REQUEST TO ENTER DEFAULT
                                                                     CASE NO.: 2:21-cv-09948-PA-PD
     Case 2:21-cv-09948-PA-PD Document 16 Filed 04/07/22 Page 2 of 4 Page ID #:90



 1         Plaintiff George Jones (hereinafter referred to as “Plaintiff”) hereby requests
 2
     that the Clerk of the above entitled Court enter default in this matter against
 3

 4   defendant, Sinaloence Food Products & Services, Inc. (“Defendant”), on the
 5
     ground that Defendant has failed to respond to the Complaint within the time
 6

 7
     prescribed by the Federal Rules of Civil Procedure (the “Rules”).

 8         Pursuant to Rule 4 of the Rules Plaintiff served the Summons, Complaint
 9
     and other case initiating documents on Defendant on March 11, 2022 by personal
10

11   service as evidenced by the proof of service attached as Exhibit A to the
12
     Declaration of Peter Shahriari filed concurrently herewith (“Shahriari Decl.”) in
13

14
     Support of the Request for Entry of Default.

15         The applicable time limit for Defendant to respond to this action under Rule
16
     12 of the Rules expired on April 1, 2022.
17

18         Rule 12 of the Rules dictates when a responsive pleading is due, certain
19
     defenses that may be made before filing a responsive pleading, and when and how
20

21
     those defenses may be raised. The only responses that are acceptable under the

22   Rules are as follows:
23
               1. An answer per Rule 12 (a)(1)(A) (an “Answer”);
24

25             2. A motion, asserting any of the following defenses (a “12(b) Motion”)
26
                  per Rule 12(b):
27

28
                      a. lack of subject-matter jurisdiction;

     ____________________________________________________________________________________________
                                                                    REQUEST TO ENTER DEFAULT
                                                                     CASE NO.: 2:21-cv-09948-PA-PD
     Case 2:21-cv-09948-PA-PD Document 16 Filed 04/07/22 Page 3 of 4 Page ID #:91



 1                    b. lack of personal jurisdiction;
 2
                      c. improper venue;
 3

 4                    d. insufficient process;
 5
                      e. insufficient service of process;
 6

 7
                      f. failure to state a claim upon which relief can be granted; and

 8                    g. failure to join a party under Rule 19.
 9
               3. A motion for judgment on the pleadings (a “Motion for JOPL”) per
10

11                Rule 12(c);
12
               4. A motion for more definitive statement (a “Motion for More
13

14
                  Definitive Statement”) per Rule 12(d); and

15             5. A motion to strike per Rule 12 (f) (a “Motion to Strike”).
16
           Defendant has not filed a motion to further extend the time to respond, and
17

18   Plaintiff has not stipulated to an extension of time for Defendant to respond to the
19
     Complaint.
20

21
           Defendant Sinaloence Food Products & Services, Inc. has therefore failed to

22   plead or otherwise respond to the summons and complaint.
23
           Defendant Sinaloence Food Products & Services, Inc. is neither a minor, an
24

25   incompetent person or currently in military service.
26
           This request is based on the attached Declaration of the Attorney for
27

28
     Plaintiff, Peter Shahriari.

     ____________________________________________________________________________________________
                                                                    REQUEST TO ENTER DEFAULT
                                                                     CASE NO.: 2:21-cv-09948-PA-PD
     Case 2:21-cv-09948-PA-PD Document 16 Filed 04/07/22 Page 4 of 4 Page ID #:92



 1

 2
     Dated: April 7, 2022                 THE LAW OFFICE OF HAKIMI &
 3
                                          SHAHRIARI
 4

 5

 6                                        By:      /s/Peter Shahriari
 7
                                                Peter Shahriari, Esq.
                                                Attorneys for Plaintiff George Jones
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     ____________________________________________________________________________________________
                                                                    REQUEST TO ENTER DEFAULT
                                                                     CASE NO.: 2:21-cv-09948-PA-PD
